The Honorable Claire C. McCaskill Missouri State Auditor 224 State Capitol Building Jefferson City, MO  65101
Dear Auditor McCaskill:
By letter dated December 31, 2003, you have submitted a fiscal note summary prepared pursuant to Section 116.175, RSMo 2000, concerning the initiative petition proposal relating to the Education and Health Care Protection Amendment (constitutional version 3).  The fiscal note summary which you submitted is as follows:
  The constitutional amendment could generate net sales and use tax revenues only if the conditions for a fiscal emergency exist.  The range of sales and use tax generated is dependent on the level of fiscal emergency, as determined by the drop in revenue.  The indirect fiscal impact on state and local governments, if any, is unknown.
Pursuant to Section 116.175, RSMo 2000, we approve the legal form and content of the fiscal note summary.  Since our review of the fiscal note summary is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                               JEREMIAH W. (JAY) NIXON Attorney General